Case 1-22-424/4e2-nnl Docs Filed 11/Ol/fee Entered LliQlize 14:00l00

Creditor Matrix

1) COL, LLC
163 West 74" Street
New York, NY 10023

2) DOVOM LLC
3 West 57th Street, 7th Flr,
New York, NY, 10019
3) Citizens BANK NA
1 Citizens Plaza, Providence, RI 02903, USA
4) JPMorgan Chase.
P.O. Box 15018. Wilmington, DE 19850
5) SYNCB/PPC

PO Box 530975 Orlando, FL 32896
6) American Express /CITI BANK NA

P.O. Box 981535

El Paso, TX 79998-1535

7) AMERICAN HONDA FINANCE CORPORATION
P.O. BOX 1027
Alpharetta, GA 30009-1027

Date: November |, 202?

Satish K Bhatia Esq (sb9222)
